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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Adam Gray
                                     Plaintiff,
v.                                                        Case No.: 1:18−cv−02624
                                                          Honorable John Z. Lee
Elizabeth K. Barton, et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 9, 2020:


         MINUTE entry before the Honorable Beth W. Jantz: Telephonic status held on
10/09/2020. The parties are progressing well on expert discovery. The parties discussed
efforts to depose two remaining fact witnesses, and are close to securing a date for one of
those depositions. For the other deposition, the Court explained that the parties should
plan to locate and depose Brenda Thomas by the expert discovery close deadline of
02/02/2021 if they wish to depose her, remotely if necessary. Additionally, the parties
reported that they have not had settlement discussions yet; parties should include an
update regarding any interest in a settlement conference or progress in settlement
discussions in the joint status report due to District Judge Lee on 12/30/2020 [226]. As
discussed during the hearing, the Court understands that many parties would prefer to take
depositions in person, but given the current public health situation, depositions should be
planned in most instances to be taken by remote means for the foreseeable future in order
to promote safety, unless agreed otherwise by all parties, counsel, and the deponent. Delay
due to a desire to take in−person depositions at a later date generally will not be a basis for
extending discovery deadlines.(rbf, )




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